Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 1 of 11 PageID #: 1



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


WELLS FARGO BANK, N.A., as Trustee for
the Holders of Bank of America Commercial
Mortgage Inc. Commercial Mortgage Pass-
Through Certificates, Series 2004-4, by and
through its special servicer, ORIX CAPITAL
MARKETS, LLC,

                               Plaintiff,
v.                                                                   C.A.. No. 10-

BERNARD WASSERMAN; DAVID WASSERMAN;
and RICHARD WASSERMAN,                                                    CA 10- 061
                              Defendants.


                                            COMPLAINT

       Plaintiff, Wells Fargo Bank, N.A., as Trustee for the Holders of Bank of America

Commercial Mortgage Inc. Commercial Mortgage Pass-Through Certificates, Series 2004-4 by

and through its special servicer, ORIX Capital Markets, LLC (the "Trustee") brings this

Complaint against Bernard Wasserman, David Wasserman, and Richard Wasserman, for

monetary and punitive damages.

                                            Introduction

       This suit seeks a full recourse deficiency judgment against Borrower Principals Bernard

Wasserman, Richard Wasserman, and David Wasserman (collectively "Borrower Principals")

for their willful and deliberate violations of the recourse guaranty provisions of a Loan

Agreement that their company, WREC Precision Park LLC ("WREC"), entered into with

Trustee's predecessor. WREC ultimately defaulted on a related Promissory Note in the principal

amount of $21 ,500,000.00, secured by a Mortgage on realty located at 200 Frenchtown Road,
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 2 of 11 PageID #: 2



North Kingstown, Rhode Island, known as Precision Park (the "Property"). The Trustee

consequently placed WREC into state court receivership.

        The loan documents provide that the debt is generally non-recourse to the Borrower and

Borrower Principals. However, the loan documents provide for either full recourse or limited (to

the extent of the loss of the Trustee) recourse for the Borrower and Borrower Principals in the

event that certain acts or events occur. These events are generally referred to as "recourse carve-

outs" to the otherwise non-recourse nature of the indebtedness. A number of recourse carve-outs

have occurred in connection with this loan.

        After WREC's insolvency, WREC made a series of fraudulent transfers from March

through December 2008 totaling approximately $600,000.00 to insiders and related entities,

including the Borrower Principals, Bernard's wife Ina Wasserman, and closely held Wasserman

companies. Those transfers render the Borrower Principals personally liable for all amounts due

under the Note, Mortgage and Loan Agreement.

        The Borrower Principals are personally liable for the full recourse amounts as a result of

"prohibited transfers" of the legal and beneficial interest in the Property without the Trustee's

approval. Three members ofWREC, including Bernard Wasserman, pledged their respective

rights to distributions from WREC related to the sale of the Property to Bank of America through

a "Pledge and Collateral Assignment of Proceeds" dated August 29, 2008, as additional security

for a Forbearance Agreement regarding an unrelated defaulted $5,000,000 Promissory Note

between borrowers Bernard Wasserman and Wasserman Management Company and lender

Bank of America. WREC also impermissibly transferred its RIPDES (Rhode Island Pollutant

Discharge Elimination System) permit, also part of the Trustee's collateral, to Wasserman RE

Ventures LLC. These prohibited transfers are per se violations of the Loan Agreement that

trigger the full recourse liability of the Borrower Principals.


12888673.1                                        2
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 3 of 11 PageID #: 3



        Additionally, the Borrower Principals are personally liable for damages that Trustee

suffered as a result of the commission of waste at the Property. WREC and its principals failed

to conduct regular preventative maintenance or make timely repairs to critical systems and

equipment - while transferring $600,000 from WREC to themselves and their relatives and

companies. Those failures led to additional significant damage to the Property, including

substantial water infiltration that damaged ceilings, walls and floors, and resulted in pervasive

mold contamination. The waste has resulted in over $5,000,000.00 in damages.

                                              Parties

        1.     Wells Fargo is a national bank that is a citizen of South Dakota.

       2.      Defendant Bernard Wasserman is a citizen of Florida.

       3.      Defendant David Wasserman is a citizen of Rhode Island.

       4.      Defendant Richard Wasserman is a citizen of Rhode Island.

                                     Jurisdiction and Venue

       5.      This Court's jurisdiction is founded upon diversity of citizenship pursuant to 28

U.S.C. § 1332(a) because this lawsuit involves citizens of different states with an amount of

controversy which exceeds $75,000, exclusive of interests and costs.

       6.      Venue in this district is proper in accordance with 28 U.S.C. §§ 1391 (a) and

1391(c).



a.     The Loan

       7.      Trustee is the assignee and current holder of a Promissory Note in the principal

amount of $21,500,000.00 (the "Note") secured by a Mortgage, Assignment of Leases and Rents,

Security Agreement, and Fixture Filing dated August 26, 2003 (the "Mortgage") from WREC to

Bank of America, N.A. relative to realty located at 200 Frenchtown Road, North Kingstown,


12888673.1                                       3
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 4 of 11 PageID #: 4



Rhode Island, known as Precision Park (the "Property"). The Mortgage is recorded in the Town

of North Kingstown Land Evidence Records Book 1745, Page 275. A true and accurate copy of

the Note is attached hereto as Exhibit A; a true and accurate copy of the Mortgage is attached

hereto as Exhibit B.

        8.     A Loan Agreement dated August 26, 2003 between WREC and Bank of America,

along with the Note and Mortgage, governs the duties and obligations of the parties and contains

carve-out recourse provisions regarding WREC and its Borrower Principals. Defendants

Bernard Wasserman, David Wasserman, and Richard Wasserman executed the Loan Agreement

as WREC's Borrower Principals. A true and accurate copy of the Loan Agreement is attached

hereto as Exhibit C.

       9.      Bank of America assigned the Note, Mortgage, and all related loan documents to

LaSalle Bank, N.A., as Trustee for the Holders of Bank of America Commercial Mortgage Inc.

Commercial Mortgage Pass-Through Certificates, Series 2004-4 ("LaSalle"), by Assignment

dated September 10,2004, and recorded on February 8, 2005 in the Town of North Kingstown

Land Evidence Records Book 1959, Page 306 (the "First Assignment"). A true and accurate

copy ofthe First Assignment is attached hereto as Exhibit D.

        10.    LaSalle thereafter assigned the Note, Mortgage, and all related loan documents to

the Trustee by Assignment dated January 2, 2008, and recorded on January 22, 2008 in the Town

of North Kingstown Land Evidence Records Book 2277, Page 197 (the "Second Assignment").

A true and accurate copy of the Second Assignment is attached hereto as Exhibit E.

b.     The Default and Receivership

       11.     WREC defaulted with regard to the Note, Mortgage and Loan Agreement by

failing to make monthly payments since August 1,2008. The indebtedness was accelerated and

declared fully due and payable in accordance with the terms of the loan documents.


12888673.1                                     4
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 5 of 11 PageID #: 5



        12.     On December 23,2008, the Trustee filed a Petition for Appointment of a Receiver

for WREC. The Rhode Island Superior Court appointed Peter 1. Furness, Esq. as Temporary

Receiver ofWREC on December 24,2008, and Permanent Receiver on January 23,2009.

        13. . The Receiver ultimately sold the Property through a receivership sale on

December 18, 2009. The Trustee was the successful bidder at the receivership sale through a

credit bid of $10,000,000.00.

        14.    As of February 12, 2010, the deficiency on the Note, Mortgage and Loan

Agreement was no less than $16,866,420.98. In addition, amounts due include, inter alia,

receivership fees, and the Trustee's attorneys and other professional fees. All of the foregoing

continues to accrue.

c.     Recourse Liability of Borrower Principals

        15.    Section 15.1 (c) provides the circumstances whereby the Borrower Principals

become fully liable for all amounts due on the Note, Mortgage and Loan Agreement:

               Notwithstanding theforegoing, the agreement of Lender not to
               pursue recourse liability as set forth in subsection (a) above
               SHALL BECOME NULL AND VOID and shall be of no further
               force and effect and the Debt shall immediately become fully
               recourse to Borrower and Borrower Principal, jointly and
               severally, in the event of ... a default by Borrower [or] Borrower
               Principal '" of any covenants set forth in Article 6 or Article 7
               hereof ....

       16.     Article 7 of the Loan Agreement prohibits "restricted parties" - defmed, inter

alia, as Borrower Principals or any shareholder or member of the Borrower - from a making a

"prohibited transfer" without lender approval. Those transfers include transfers, whether for

consideration or not, of any legal or beneficial interest in the Property, including permits or

licenses. (See Mortgage, § 1.1 (k); Loan Agreement, § 1.1). In the case of a limited liability

company, like WREC, Article 7's prohibitions also reach the pledge of a membership interest of



12888673.1                                       5
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 6 of 11 PageID #: 6



 any member in the Borrower or "any profits or proceeds relating to such membership interest

 ...." (Loan Agreement, § 7.2(b)(v)).

         17.     Section 15.1 (b) of the Loan Agreement contains certain limited recourse triggers

 for which the Borrower and Borrower Principals are personally liable, to the extent of loss or

 damage to the Trustee, inter alia:

        (a)     misapplication and/or misappropriation of rents (15. 1(b)(ii));

        (b)     failure to pay taxes or charges for labor and materials (15. 1(b)(v));

        (c)     actual waste (15(b)(vii)); and

        (d)     Borrower's gross negligence or willful misconduct (15(b)(ix)).

 d.     Violations of the Loan Agreement

        i.      Prohibited Payments/ Transfers

         18.    WREC's willful and reckless transfer with malice and in bad faith of

 approximately $600,000 without any connection to obligations related to the Property, as

 detailed in the following table, to insiders is a direct violation of Section 7 of the Loan

Agreement,triggering full recourse liability. Specifically, these payments were derived from the

rental income that the Property generated. That rental income forms part of the Property, as

defined by the Section 1.1(f) of the Mortgage, and so is collateral for the Note. The transfer of

those rents in the form of insider payments is consequently a "prohibited transfer" under Section

7 that triggers full recourse liability under Section 15.1(c).

Date           Check       Paid To                                                   Amount ($)
               Number
 03/04/08      1377        Wasserman Properties                                       40,000.00
 03/05/08      1381        Wasserman Properties                                        8,519.64
 04/04/08      1390        Wasserman, Bernard                                         25,000.00
 04/09/08      1396        Wasserman Properties                                       19,875.94
·04/18/08      1399        Wasserman Properties                                       20,000.00
 04/23/08      1400        Wasserman Holdings                                          6,800.00
 04/23/08      1401        Wasserman Properties                                       17,656.87

12888673.1                                         6
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 7 of 11 PageID #: 7



04/30/08      1408       Wassennari. Properties                                    6,371.85
09/08/08      1483       Wassennan, Bernard                                       30,000.00
09/08/08      1484       Starwood Wassennan Pasadena                              43,000.00
10/03/08      1512       Wassennan, Bernard                                       18,700.00
10/08/08      1515       Wassennan, David                                         20,000.00
10/08/08      1516       Wassennan, Ina                                           20,000.00
10/08/08      1517       Wassennan, Richard                                       20,000.00
10/08/08      1518       Wassennan Properties                                     20,000.00
10/15/08      1522       Wassennan, Ina                                           40,000.00
10/27/08      1524       Wassennan, Ina                                           20,000.00
11/03/08      1525       Wassennan, Ina                                           70,000.00
11/10/08      1527       Wassennan Properties                                     50,000.00
11/10/08      1528       Wassennan Properties                                      2,500.00
11/13/08      1529       Wassennan, Bernard                                        4,000.00
11/13/08      1533       Wassennan, Bernard                                       40,000.00
11/17/08      1536       Wassennan, Ina                                            7,000.00
12/01/08      1540       Wassennan, Ina                                           10,000.00
12/03/08      1543       Wassennan Properties                                     52,000.00
12/08/08      1546       Wassennan Properties                                     10,000.00
12/22/08      1554       Wassennan Properties                                      8,000.00

       19.     These transfers also constitute misappropriation of rent and the willful and

reckless misconduct with malice and in bad faith, particularly where Borrower's license to rents

is revoked automatically upon default, (see Mortgage, §§ 1.1(f) & 8.1(h», so that Borrower

Principals are personally liable, pursuant to Section 15.1(b) of the Loan Agreement, for all

amounts that WREC illegally transferred.

       20.     Of the persons and entities receiving fraudulent transfers, Ina Wassennan is

Bernard Wassennan's wife and had nothing to do with the operation of WREC or the Property;

Wassennan Holdings LLC is a Delaware limited liability company that the Wassennan family

controls that is unrelated to WREC or the Property; and Starwood Wassennan Pasadena is a

Delaware corporation that fonnerly held and/or operated certain realty that the Wassennan

family owned in California unrelated to WREC and/or the Property.

       21.     Wassennan Properties was the property manager for the Property and was paid a

percentage of gross revenue from the Property on a monthly basis for those services. The


12888673.1                                      7
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 8 of 11 PageID #: 8



fraudulent transfers to Wasserman Properties listed above are unrelated to its management of the

Property.

        22.     The fraudulent transfers to the Borrower Principals are also unrelated to any

legitimate expense relative to the Property, and were a direct, illegal diversion of income that the

Property generated at the expense of the Trustee.

        ii.     Other Prohibited Transfer of Assets

        23.    Three members ofWREC, specifically Bernard Wasserman, DDW Precision Park

Holdings LLC and RNW Precision Park Holdings, transferred their respective rights to

distributions from WREC related to the sale of the Property to Bank of America through a

"Pledge and Collateral Assignment of Proceeds" dated August 29,2008, as additional security

for a Forbearance Agreement regarding a defaulted $5,000,000 Promissory Note between

borrowers Bernard Wasserman and Wasserman Management Company and lender Bank of

America. True and accurate copies of those Pledges are attached hereto as Exhibit F.

       24.     The Pledges referenced in Paragraph 25, above, are per se violations of Section

7.2 of the Loan Agreement, which prohibits any Borrower Principal or member of the Borrower

from making a "Pledge of the membership interest ... or any profits or proceeds relating to such

membership interest ...." (§ 7.2(b)(v)). This violation of Article 7 is, in turn, a violation of

Section 15.1(c) and triggers full recourse liability of the Borrower Principals as to the amounts

due on the Note, Mortgage and Loan Agreement.

       25.     WREC also violated Article 7 ofthe Loan Agreement by transferring its RIPDES

(Rhode Island Pollutant Discharge Elimination System) permit to Wasserman RE Ventures LLC.

The Receiver managed to secure the return ofthe RIPDES license back to WREC. However,

permits and licenses form part of the Property that serves as collateral for the Note pursuant to

Section 1.1 (k) of the Mortgage, so that the transfer violates Article 7, which triggers full recourse


12888673.1                                        8
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 9 of 11 PageID #: 9


liability of the Borrower Principals under Section 15.1 (c), notwithstanding the later action of the

Receiver.

        iii.   Waste

        26.    WREC's commission of waste is manifest. The Property has suffered over

$5,000,000.00 of damage as a result ofWREC's failure to conduct routine maintenance and

make timely repairs. Of most significance, WREC failed to address the pervasive failure of the

roofing system, leading to extensive water infiltration and mold damage throughout the property.

       27.     Borrower Principals are personally liable for all damage that WREC's waste

caused to the Property and to the Trustee pursuant to Section 15.1 (b)(vii) of the Loan

Agreement.

       iv.     Failure to Pay Taxes and Contractors

       28.     WREC failed to pay pre-receivership property taxes to the Town of North

Kingstown and failed to pay certain contractors for work performed on the Property, resulting in

claims against the Receiver. Unpaid taxes total $165,751.36 and contractor claims allegedly

total $185,000.00. WREC's failure to make these payments triggers personal liability on the part

of Borrower Principals pursuant to Section 15.1(b)(v) of the Loan Agreement.

                                          Count I
                             (Breach of Contract - Full Recourse)

       29.     Trustee realleges paragraphs 1-28 above.

       30.     WREC and Borrower Principals have breached the Loan Agreement under

circumstances whereby Borrower Principals are liable for full recourse amounts due under the

Note, Mortgage and Loan Agreement.

       31.     Trustee has suffered and continues to suffer damages as a direct and proximate

cause of this breach.



12888673.1                                       9
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 10 of 11 PageID #: 10




                                             Count II
                              (Breach of Contract - Limited Recourse)

           32.    Trustee realleges paragraphs 1-31 above.

           33.    WREC and Borrower Principals have breached the Loan Agreement under

 circumstances whereby Borrower Principals are liable for the loss and damage their actions

 caused.

           34.    Trustee has suffered and continues to suffer damages as a direct and proximate

 cause of this breach.

                            Attorney's Fees and Post-Judgment Interest

           35.    The Trustee has incurred and will incur attorney's fees in this action and as a

 result of WREC and the Borrower Principals. The Trustee is entitled to recover all such

 attorney's fees and expenses pursuant to, inter alia, Section 2004 of the Loan Agreement.

           36.    The loan documents provide that interest shall accrue at the rate of 10.31%

 following an event of default. The Trustee is entitled to recover at the default interest rate until

 the entirety of the debt has been paid pursuant to, inter alia, Article IV of the Note.

           WHEREFORE, the Trustee respectfully requests that this Court:

           (a)    Enter judgment in Trustee's favor for its actual, compensatory and consequential

           damages, along with pre- and post-judgment interest, reasonable attorneys' fees and

        costs, jointly and severally against Bernard Wasserman, David Wasserman and Richard

           Wasserman;

           (b)    Punitive damages against all defendants, jointly and severally;

        -(c)      Award such other relief as the Court deems just and proper.




 12888673.1                                        10
Case 1:10-cv-00061-JJM-PAS Document 1 Filed 02/17/10 Page 11 of 11 PageID #: 11



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                                    as Trustee for the Holders of Bank of America
                                    Commercial Mortgage Inc. Commercial
                                    Mortgage Pass-Through Certificates, Series
                                    2004-4, by and through its special servicer,
                                    ORIX Capital Markets, LLC,

                                    By its attorney,




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 12888673.1                            11
